USCA11 Case: 21-13734    Document: 39-1      Date Filed: 07/11/2023   Page: 1 of 32




                                                              [PUBLISH]


                                    In the
                 United States Court of Appeals
                         For the Eleventh Circuit

                           ____________________

                                 No. 21-13734
                           ____________________

        MARCUS BERNARD WILLIAMS,
                                                      Petitioner-Appellee,
        versus
        STATE OF ALABAMA,


                                                   Respondent-Appellant.


                           ____________________

                  Appeal from the United States District Court
                     for the Northern District of Alabama
                      D.C. Docket No. 1:07-cv-01276-KOB
                           ____________________
USCA11 Case: 21-13734       Document: 39-1      Date Filed: 07/11/2023      Page: 2 of 32




        2                       Opinion of the Court                  21-13734

        Before WILSON, GRANT, and LAGOA, Circuit Judges.
        WILSON, Circuit Judge:
                In 1996, Marcus Bernard Williams was convicted of capital
        murder by an Alabama jury. The jury recommended death by ex-
        ecution, and the trial judge imposed the death penalty. Williams
        filed a petition for habeas corpus relief in the Northern District of
        Alabama, alleging—as relevant to this appeal—that trial counsel
        was ineffective during the penalty phase of his trial for failing to
        investigate and present mitigating evidence.
                The district court initially denied habeas relief on all claims,
        and Williams appealed. We vacated the district court’s order and
        remanded to the district court to determine whether Williams was
        entitled to an evidentiary hearing and to reconsider his failure-to-
        investigate claims de novo. Williams v. Alabama, 791 F.3d 1267,
        1277 (11th Cir. 2015). After conducting an evidentiary hearing, the
        district court granted habeas relief. The State of Alabama (State)
        now appeals. After careful review of the record and with the ben-
        efit of oral argument, we affirm.
                                I.     BACKGROUND
               The only question presented in this appeal is whether Wil-
        liams’ trial attorneys were constitutionally ineffective during the
        penalty phase of his trial. Neither the facts of Williams’ case nor
        his guilt is in dispute. The relevant facts are as follows:
               On November 6th, 1996, the defendant had been out
               with friends, drinking and smoking marijuana. Upon
               returning home that evening, the defendant's
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023   Page: 3 of 32




        21-13734              Opinion of the Court                       3

              thoughts turned to a young female neighbor of his,
              Melanie Dawn Rowell, and his desire to have sexual
              relations with her.

              At approximately 1:00 a.m. that night, Williams at-
              tempted to enter Rowell’s back door, but the door
              was locked. He then noticed a kitchen window beside
              the door. He removed the screen from the window
              and found that the window was not locked.

        Williams v. State, 795 So. 2d 753, 761 (Ala. Crim. App. 1999) (Wil-
        liams I). Williams entered through the kitchen window, took a
        knife from the counter, and proceeded upstairs, removing his pants
        part way up the stairs. Id. Williams entered Rowell’s bedroom. Id.
              He climbed in bed on top of her. When he began re-
              moving Rowell’s clothes, a struggle ensued. . . . As
              Rowell continued to struggle, Williams placed his
              hands around her neck. Eventually Rowell ceased to
              struggle as Williams continued to strangle her. When
              she was motionless, Williams proceeded to have sex-
              ual intercourse with her for 15 to 20 minutes.

        Id. at 761–62. Williams was subsequently arrested. Id. at 762. He
        provided written statements to the police implicating himself in
        Rowell’s death. Williams was indicted for murder during a rape or
        attempted rape. See Ala. Code § 13A-5-40(a)(3) (1975).
                                      Trial
              Williams was represented at trial by Tommie Wilson (now
        deceased) and Erskine Funderburg. Wilson was primarily
USCA11 Case: 21-13734        Document: 39-1       Date Filed: 07/11/2023       Page: 4 of 32




        4                        Opinion of the Court                    21-13734

        responsible for the guilt phase, while Funderburg mainly handled
        the penalty phase. After his first trial ended in a mistrial, Williams’
        retrial began on February 22, 1999. Williams’ sole defense was that
        he intended only to rape, not kill, Rowell. The defense offered no
        evidence or witnesses at the guilt phase. The jury found Williams
        guilty of capital murder during a rape. Williams I, 795 So. 2d at 761.
               At the penalty phase, trial counsel called two witnesses: Wil-
        liams’ mother, Charlene Williams, and his great-aunt, Eloise Wil-
        liams. Charlene1 told the jury that she was young and unmarried
        when she had Williams; that Williams faced hardships as a child,
        such as living with different relatives and having no father or adult
        male figure in his life; and that Williams stopped playing school
        sports after a knee injury. Charlene also gave testimony that por-
        trayed Williams in a negative light. She testified that Williams
        dropped out of high school, hung out “with a rough crowd,” was
        kicked out of the Job Corps for fighting, stopped going to church,
        and “wanted to sleep all day and stay up all night.”
                Eloise told the jury about Williams’ unstable home life and
        testified that he did not see his mother often and became sad and
        withdrawn at times, that he was a good student with no significant
        criminal history, that he struggled following the deaths of his
        grandfather and uncle, and that since going to jail, he stayed out of
        trouble and was remorseful for his crime. Eloise also testified that


        1 Williams’ relatives are referred to throughout this opinion by their first
        names to avoid confusion.
USCA11 Case: 21-13734      Document: 39-1      Date Filed: 07/11/2023     Page: 5 of 32




        21-13734               Opinion of the Court                         5

        Williams had a quick temper, had a prior arrest for fighting as a
        teenager, was irregularly employed after high school, and started
        drinking and using drugs not long before the crime. After 30
        minutes of deliberation, the jury recommended a death sentence
        by an 11-to-1 vote. Id.
               At the sentencing hearing, Williams took the stand to testify,
        and he expressed his remorse. The trial court found one aggravat-
        ing circumstance—the murder was committed during a rape—and
        one statutory mitigating circumstance—Williams had no signifi-
        cant history of prior criminal activity. Id. at 784. The trial court
        also found four non-statutory mitigating circumstances: (1) Wil-
        liams’ unstable upbringing, (2) his problem resulting from the end
        of a promising athletic career, (3) the attainment of his GED after
        not graduating from high school, and (4) his remorse. Id. at 784–
        85. The trial court found the aggravating factor outweighed the
        mitigating factors and sentenced Williams to death. Id. at 761.
                                   Direct Appeal
               Williams appealed to the Alabama Court of Criminal Ap-
        peals (ACCA). He raised several issues, including ineffective assis-
        tance of counsel during trial. Id. at 782. The ACCA reviewed Wil-
        liams’ claims for plain error because he “did not first present [them]
        to the trial court in a motion for a new trial.” Id. The ACCA con-
        cluded that Williams had not shown that his trial counsel’s perfor-
        mance was deficient and that their allegedly deficient performance
        prejudiced him. Id. at 784. The Alabama Supreme Court affirmed
        the ACCA’s judgment and Williams’ conviction and sentence. Ex
USCA11 Case: 21-13734       Document: 39-1       Date Filed: 07/11/2023     Page: 6 of 32




        6                       Opinion of the Court                   21-13734

        parte Williams, 795 So. 2d. 785, 787–88 (Ala. 2001). The United
        States Supreme Court denied certiorari. Williams v. Alabama, 534
        U.S. 900 (2001).
                           State Postconviction Proceedings
               Williams next sought state postconviction relief based on his
        claim that trial counsel failed to conduct an adequate investigation
        into his background, thus failing to uncover a history of neglect and
        childhood sexual abuse by an older boy. Williams requested dis-
        covery and an evidentiary hearing. The postconviction court de-
        nied relief. The ACCA affirmed, see Williams v. State, 2 So. 3d 934
        (Ala. Crim. App. 2006) (table), and the Alabama Supreme Court de-
        nied certiorari, see Ex parte Williams, 13 So. 3d 52 (Ala. 2007) (table).
                             Federal Habeas Proceedings
               In July 2007, Williams petitioned for federal habeas corpus
        relief under 28 U.S.C. § 2254 from the Northern District of Ala-
        bama. The district court, applying deference under the Antiterror-
        ism and Effective Death Penalty Act (AEDPA) to the state postcon-
        viction court’s ruling, concluded that the ruling was not contrary
        to, or an unreasonable application of Strickland v. Washington, 466
        U.S. 668 (1984), and denied his petition. See Williams v. Alabama,
        No. 1:07-cv-1276, 2012 WL 1339905 (N.D. Ala. Apr. 12, 2012). After
        the district court denied Williams’ request for a certificate of ap-
        pealability (COA), Williams filed a motion in our court seeking a
        COA.
               We granted a limited COA on Williams’ claim of ineffective
        assistance of counsel for failure to investigate and present
USCA11 Case: 21-13734         Document: 39-1          Date Filed: 07/11/2023         Page: 7 of 32




        21-13734                   Opinion of the Court                                 7

        mitigating evidence during the penalty phase of his trial. After con-
        sidering Williams’ appeal, we concluded that “Williams’ failure-to-
        investigate claims were fairly presented in state court, [but] they
        were not decided ‘on the merits’ within the meaning of 28 U.S.C.
        § 2254(d).” Williams v. Alabama, 791 F.3d 1267, 1269 (11th Cir.
        2015) (Williams II). We held that the district court erred in granting
        deference under AEDPA to the postconviction court’s decision be-
        cause the ACCA had applied a procedural bar and therefore had
        not adjudicated Williams’ claims on the merits. Id. at 1273–74.
        Thus, we vacated the district court’s order denying the failure-to-
        investigate claims and Williams’ request for an evidentiary hearing.
        Id. at 1277. We remanded Williams’ case back to the district court
        to determine whether Williams was entitled to an evidentiary hear-
        ing and to reconsider his failure-to-investigate claims de novo. Id.
                                    Evidentiary Hearing
                On remand, the district court conducted a three-day eviden-
        tiary hearing on Williams’ failure-to-investigate claims.2 Williams
        testified at the hearing and called several witnesses who testified to


        2 Williams asserted eight failure-to-investigate claims in his amended habeas
        petition: (1) failure to collect documentary evidence and hire a mitigation spe-
        cialist; (2) failure to thoroughly investigate Williams’ history, including his
        childhood sexual abuse; (3) failure to interview Williams’ friend, Alister Cook;
        (4) failure to adequately interview and prepare the penalty phase witnesses; (5)
        failure to compile Williams’ history of abuse and neglect; (6) failure to investi-
        gate Williams’ family history of mental illness; (7) failure to show that Wil-
        liams’ background contributed to his committing capital murder; and (8) fail-
        ure to present his redeeming characteristics.
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023    Page: 8 of 32




        8                     Opinion of the Court                21-13734

        facts that Williams claims trial counsel should have presented dur-
        ing the penalty phase of his trial. The following lay witnesses tes-
        tified: attorney Funderburg; Tina Watson (attorney Wilson’s for-
        mer legal secretary); Billy Stephens (a mitigation investigator
        whom Wilson purportedly sought to hire); Sharenda and LaCharo
        Williams (Williams’ sisters); Marlon Bothwell (Williams’ child-
        hood friend); Eloise; and Charlene. Williams also presented testi-
        mony from clinical psychologist Dr. Matthew Mendel and neuro-
        psychologist Dr. Kenneth Benedict to explain the effects that child
        sexual abuse, alcoholism, abandonment, and familial dysfunction
        had on Williams. Wilson did not testify because she passed away
        in 2015. However, Wilson’s case file was presented as documen-
        tary evidence. The State presented expert testimony from Dr. Glen
        King to counter Williams’ experts. Both sides presented eviden-
        tiary materials.
               Williams argued that, had counsel performed an adequate
        penalty phase mitigation investigation, they would have discov-
        ered and been able to present evidence regarding: childhood sexual
        abuse by an older boy; an extensive family history of childhood sex-
        ual abuse and incest; a family history of alcoholism which contrib-
        uted to Williams’ early and excessive use of alcohol; a childhood
        defined by chaos, abandonment, and abuse; an extensive family his-
        tory of fracture and dysfunction; and psychologically damaging ex-
        periences during childhood.
              On September 23, 2021, the district court entered a 141-page
        order granting Williams’ habeas petition on all his failure-to-
USCA11 Case: 21-13734         Document: 39-1        Date Filed: 07/11/2023         Page: 9 of 32




        21-13734                  Opinion of the Court                                9

        investigate claims except for three of them.3 Williams v. Alabama,
        No. 1:07-cv-1276, 2021 WL 4325693, at *1 (N.D. Ala. Sept. 23, 2021)
        (Williams III).
               The State timely appealed.
                             II. STANDARD OF REVIEW
               We review de novo the district court’s grant of a federal ha-
        beas petition under 28 U.S.C. § 2254. Peterka v. McNeil, 532 F.3d
        1199, 1200 (11th Cir. 2008). The district court’s factual findings in
        a habeas proceeding are reviewed for clear error—a highly defer-
        ential standard of review. Sims v. Singletary, 155 F.3d 1297, 1304
        (11th Cir. 1998); Holton v. City of Thomasville Sch. Dist., 425 F.3d
        1325, 1350 (11th Cir. 2005). “A finding is ‘clearly erroneous’ when
        although there is evidence to support it, the reviewing court on the
        entire evidence is left with the definite and firm conviction that a
        mistake has been committed.” Anderson v. City of Bessemer City, 470
        U.S. 564, 573 (1985) (alteration adopted) (quoting United States v.
        United States Gypsum Co., 333 U.S. 364, 395 (1948)). “An ineffective
        assistance of counsel claim is a mixed question of law and fact
        which we review de novo.” Sims, 155 F.3d at 1304.




        3 The claims that the district court did not grant habeas relief on were “coun-
        sels’ failure to interview Mr. Williams’ closest friend Alister Cook, failure to
        investigate his family history of mental illness, and the failure to present his
        redeeming characteristics because Mr. Williams . . . failed to show prejudice
        on these three claims.” Williams III, 2021 WL 4325693, at *1.
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023    Page: 10 of 32




        10                     Opinion of the Court                21-13734

                                III. DISCUSSION
               The State argues on appeal that the district court erred in
        two ways. First, by failing to uphold the presumption of effective
        assistance of counsel, and second, by incorrectly reweighing the ad-
        ditional aggravating and mitigating evidence produced at the evi-
        dentiary hearing. None of the State’s arguments has merit.
               To succeed on an ineffective assistance of counsel claim, a
        defendant must demonstrate two things: (1) that counsel’s perfor-
        mance was deficient, and (2) that the deficiency prejudiced the de-
        fense. Strickland, 466 U.S. at 687.
                             A. Deficient Performance
               To establish deficient performance, a defendant must show
        “that counsel made errors so serious that counsel was not function-
        ing as the ‘counsel’ guaranteed the defendant by the Sixth Amend-
        ment.” Id. “[T]he proper standard for attorney performance is that
        of reasonably effective assistance.” Id. Thus, to prevail on an inef-
        fectiveness claim, “the defendant must show that counsel’s repre-
        sentation fell below an objective standard of reasonableness.” Id.
        at 688. A petitioner bears the burden of proving counsel’s perfor-
        mance was unreasonable by “a preponderance of competent evi-
        dence.” Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir.
        2000) (en banc). Regarding the duty to investigate, “counsel has a
        duty to make a reasonable investigation or to make a reasonable
        decision that makes particular investigations unnecessary. . . . [A]
        particular decision not to investigate must be directly assessed for
USCA11 Case: 21-13734      Document: 39-1      Date Filed: 07/11/2023     Page: 11 of 32




        21-13734               Opinion of the Court                         11

        reasonableness in all the circumstances, applying a heavy measure
        of deference to counsel’s judgments.” Strickland, 466 U.S. at 691.
               The district court found “that counsels’ performance was
        deficient for failing to reasonably investigate Mr. Williams’ back-
        ground for mitigation.” Williams III, 2021 WL 4325693, at *17. In
        making this determination, the district court considered “what Mr.
        Williams’ counsel knew about him, his criminal charges, and his
        background and ‘what counsel then failed to do and learn about
        [Mr. Williams] and his childhood background.’” Id. (citing Hard-
        wick v. Sec’y, Fla. Dep’t of Corr., 803 F.3d 541, 552 (11th Cir. 2015).
        Because the State has not shown any of the district court’s factual
        findings are clearly erroneous, we agree with the district court.
               After reviewing the totality of the evidence in the record and
        produced at the evidentiary hearing, we find that Funderburg’s and
        Wilson’s representation of Williams at the penalty phase “fell be-
        low an objective standard of reasonableness.” Strickland, 466 U.S.
        at 687–88. Specifically, counsel failed to conduct an adequate in-
        vestigation into Williams’ background for possible mitigating evi-
        dence. Counsel knew how important the penalty phase of the trial
        was, given the overwhelming evidence of Williams’ guilt. Funder-
        burg testified that he knew Williams’ confession would likely be
        admitted at trial, so mitigation would be important to possibly get
        life without parole. Wilson also knew the importance of mitiga-
        tion. Handwritten notes from her case file show that she identified
        the “best issue” to be whether the sentence would be life without
        parole or death. Counsel also knew the sexual nature of the crime
USCA11 Case: 21-13734      Document: 39-1      Date Filed: 07/11/2023      Page: 12 of 32




        12                      Opinion of the Court                  21-13734

        and that alcohol and marijuana played a significant role, so reason-
        able counsel with this knowledge would have thoroughly investi-
        gated Williams’ sexual history and how he began abusing alcohol
        and marijuana.
               Despite counsel’s knowledge that the penalty phase would
        be crucial, counsel failed to use available resources for a mitigation
        investigation. The trial court had granted a motion from Wilson
        and awarded $1,500 to hire a mitigation investigator for the penalty
        phase, but counsel never used the court-awarded funds to retain a
        mitigation investigator.
                The evidence also shows that counsel unreasonably delayed
        starting their mitigation investigation, and when counsel did start
        at the eleventh hour, their efforts were minimal and deficient. The
        trial court appointed Wilson in November 1996 and Funderburg in
        May 1997, and Williams’ trial was ultimately set for November
        1998. Yet, at the time Wilson filed the June 1997 motion seeking
        funds for a mitigation investigator—seven months after her ap-
        pointment—she stated in the motion that there had “not been ad-
        equate investigation into critical matters relevant to . . . [the] level
        of culpability and appropriate punishment.” By August 1997, Fun-
        derburg had not spoken to any of Williams’ friends or family re-
        garding his background. And by February 1999—only days prior
        to Williams’ trial—the only documentary records that Funderburg
        had received and reviewed were Williams’ Job Corps records.
              Funderburg testified at the evidentiary hearing that he did
        not contact any family or friends prior to August 1997 because he
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023    Page: 13 of 32




        21-13734               Opinion of the Court                       13

        did not think there was much cooperation at the time from Wil-
        liams’ friends who were also suspects. But counsel did not even
        reach out to those friends or relatives who were not suspects, such
        as Williams’ childhood friend, Marlon Bothwell, or his sisters,
        LaCharo and Sharenda. Prior to trial, the only relatives Funder-
        burg met with were Williams’ mother, Charlene, and his great-
        grandmother, Beulah Williams. Counsel called only two witnesses
        at the penalty phase—Charlene and Eloise. Funderburg failed to
        properly prepare Eloise to testify, as he only met with her for the
        first time on the day of her testimony for about fifteen minutes.
        Eloise testified at the evidentiary hearing that counsel did not seem
        to understand Williams’ life story.
                The evidence shows that counsel met infrequently with Wil-
        liams and failed to ask more than general questions about Wil-
        liams’ background. Williams testified at the evidentiary hearing
        that he met with counsel only about “a half dozen times,” and the
        meetings lasted 15 to 30 minutes. Counsel’s fee declarations sup-
        port Williams’ testimony. Wilson’s fee declaration reflects that she
        met with Williams only twice for a total of 3 hours over the course
        of two years. Funderburg’s fee declaration shows he met with Wil-
        liams five times for a total of 8 hours (although 4.5 of the 8 hours
        were conferences with Williams and the District Attorney, so pre-
        sumably Funderburg and Williams were not alone). Williams tes-
        tified that Funderburg asked him only general questions about his
        childhood, such as about family and school. Williams was never
        asked about his family background; whether he had been
USCA11 Case: 21-13734       Document: 39-1        Date Filed: 07/11/2023       Page: 14 of 32




        14                       Opinion of the Court                    21-13734

        neglected; or whether he had been sexually, physically, or emo-
        tionally abused.
                These deficiencies were patently unreasonable. See Johnson
        v. Sec’y, DOC, 643 F.3d 907, 932 (11th Cir. 2011) (“Given the over-
        whelming evidence of guilt, any reasonable attorney would have
        known . . . that the sentence stage was the only part of the trial in
        which [the defendant] had any reasonable chance of success.”)
               Had counsel conducted a more thorough investigation into
        Williams’ sexual history, they would have learned that Williams
        had been sexually abused on three or four occasions between the
        ages of four and six when he and his mother lived with the Mostella
        family. At the evidentiary hearing, Williams testified that Mario
        Mostella, who was older 4 and used to babysit him, used to pretend
        they were playing a game in which they would touch each other’s
        genitals, and Mostella would anally penetrate Williams. Williams
        never told his mother about the sexual abuse, and the abuse led
        Williams to have thoughts of self-harm and suicide and feelings of
        shame and depression. Williams stated that he never told his trial
        attorneys about the sexual abuse because “[t]hey didn’t ask,” but
        he later told his postconviction attorney. Williams testified that he
        did not tell his postconviction attorney about the sexual abuse


        4 Williams testified that he believed Mostella was ten or twelve years older
        than him, whereas Eloise testified that Mostella was “maybe ten” years old.
        While Mostella’s exact age is unclear, it is apparent that he was older than
        Williams and, since he used to babysit Williams, presumably would have been
        in control when they were unsupervised.
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023    Page: 15 of 32




        21-13734               Opinion of the Court                       15

        when first asked, but after growing comfortable with him over
        time, Williams shared that he had been sexually abused when
        counsel later asked him again.
               Williams was also exposed to sexual relations at an inappro-
        priately young age. There were poor boundaries in Williams’ fam-
        ily with regard to sexuality. For example, Charlene used to have
        her boyfriends in the same bed that she shared with Williams (alt-
        hough Williams never witnessed his mother having sexual rela-
        tions). Williams testified that when he was ten years old, his 18- or
        19-year-old cousin Brian Williams allowed him “to watch [Brian]
        have sex as a way of showing [Williams] how to do it with a
        woman.” Williams’ sexual abuse and his exposure to other peo-
        ple’s sexual relations at such a young age had a significant detri-
        mental impact on his own sexual development. Dr. Mendel testi-
        fied that male victims of sexual abuse will often display “compul-
        sive sexuality or hyper sexuality, [become] very driven to be sex-
        ually active and have numerous partners.” Williams became sex-
        ually active at the age of ten, had about 75 sexual partners by the
        time he graduated high school, and about 150 sexual partners by
        the time of his arrest. Williams had no serious or committed rela-
        tionships, just a “pattern of repeated hookups and sexual encoun-
        ters.” Dr. Mendel testified that Williams’ promiscuity was “very
        reassuring to him” and “made him feel like a man.”
               Had counsel conducted an adequate investigation into Wil-
        liams’ family background, they also would have learned about the
        domestic violence Williams witnessed between his mother and her
USCA11 Case: 21-13734     Document: 39-1     Date Filed: 07/11/2023   Page: 16 of 32




        16                    Opinion of the Court                21-13734

        abusive boyfriend, Jeff Deavers. Williams saw his mother “with a
        black eye and busted lip,” and on another occasion he saw Deavers
        strike his mother with his hand. Williams, who was then 12 or 13
        years old, grabbed a knife and tried to stab Deavers.
                Counsel would have also learned about the pervasive his-
        tory of childhood sexual abuse and incest within Williams’ family,
        which spans multiple generations. Dr. Mendel stated in his expert
        report that Williams’ great-grandmother Beulah was raped by her
        uncle, who fathered her child; his grandmother Laura’s first child
        was fathered by Laura’s cousin; his aunt Veronica was molested by
        her aunt Helen’s boyfriend; and his cousin Brian molested Wil-
        liams’ sister LaCharo and his cousin Zakia. Within Williams’ fam-
        ily, the sexual abuse and molestations were simply “swept under
        the rug.” According to Dr. Mendel, within Williams’ family, “dis-
        closure would have been worthless, resulting in neither protection
        from further abuse or treatment for the impact of the abuse.”
               Further, counsel would have learned about the alcoholism
        that was rampant in Williams’ family, and how Williams’ mother
        Charlene often drank to the point of intoxication and neglected
        Williams as a child. Williams began drinking alcohol between the
        ages of 12 and 14 years old, and his consumption steadily increased
        through his teenage years to the point where he was getting drunk
        weekly.
               Finally, counsel would have learned that Williams’ child-
        hood was defined by chaos and abandonment. As a child, Williams
        and his teenage mother lacked a stable home life, instead bouncing
USCA11 Case: 21-13734      Document: 39-1      Date Filed: 07/11/2023      Page: 17 of 32




        21-13734                Opinion of the Court                         17

        around to live with different relatives or family friends. Eloise tes-
        tified at the evidentiary hearing that Charlene would often go out
        partying or drinking; she would leave the children to fend for them-
        selves; and at times the children were not clean or well cared for.
        When Williams was six or seven years old, he moved back and
        forth between Eloise and his great-grandmother because Charlene
        could not properly care for him. Charlene and Williams’ father
        were not in a committed relationship, and Williams’ father was not
        involved in his life until he was 13 or 14 years old. Williams did not
        grow up with any of his six half-siblings, all of whom were raised
        in different households. Williams felt that all of his half-siblings had
        a place they could call home, whereas Williams lacked a consistent
        home and felt that he was never wanted or belonged anywhere.
               Had trial counsel conducted an adequate investigation into
        Williams’ background, they would have learned about all the cir-
        cumstances discussed above and been able to present them to the
        jury as mitigating evidence. But the jury never heard any of this
        compelling mitigating evidence.
               Because the Supreme Court has endorsed the use of the
        American Bar Association Guidelines for the Appointment and Per-
        formance of Counsel in Death Penalty Cases 1989 (ABA Death Pen-
        alty Guidelines), the district court properly used it to determine
        whether Williams’ counsel was deficient. See Wiggins v. Smith, 539
        U.S. 510, 524 (2003). Looking to the prevailing norms at the time
        of Williams’ trial, a capital defendant who does not have a “credible
        argument for innocence . . . has the right to present his or her
USCA11 Case: 21-13734      Document: 39-1      Date Filed: 07/11/2023     Page: 18 of 32




        18                     Opinion of the Court                  21-13734

        sentencer with any mitigating evidence that might save his or her
        life.” ABA Death Penalty Guidelines 1.1, commentary. The ABA
        Death Penalty Guidelines further instruct that counsel should in-
        vestigate both the guilt and penalty phases “immediately upon
        counsel’s entry into the case and [the investigation] should be pur-
        sued expeditiously.” Id. 11.4.1(A). Moreover, as soon as appropri-
        ate counsel should “collect information relevant to the sentencing
        phase of trial including, but not limited to . . . family and social
        history (including physical, sexual or emotional abuse).” Id.
        11.4.1(2)(C).
               It is clear to us from the totality of the evidence that counsel
        spent minimal time and effort conducting a background investiga-
        tion for potential mitigating evidence that would help the jury un-
        derstand why Williams committed the crime that he did. Coun-
        sel’s minimal efforts were also unreasonably delayed and untimely.
        As a result, counsel’s failure to conduct an adequate background
        investigation for mitigating evidence deprived Williams of reason-
        ably effective assistance. Strickland, 466 U.S. at 687.
               The State argues that the district court failed to uphold the
        presumption of effective assistance when it found that attorney
        Wilson unreasonably failed to keep better records. Citing Callahan
        v. Campbell, 427 F.3d 897, 933 (11th Cir. 2005), the State asserts that
        when assessing a deceased attorney’s performance, courts presume
        the attorney “did what [s]he should have done” and exercised rea-
        sonable professional judgment. We are not persuaded by the
        State’s argument. While it is true that “[j]udicial scrutiny of
USCA11 Case: 21-13734     Document: 39-1     Date Filed: 07/11/2023    Page: 19 of 32




        21-13734              Opinion of the Court                       19

        counsel’s performance must be highly deferential” and we must
        endeavor “to eliminate the distorting effects of hindsight,” Strick-
        land, 466 U.S. at 680, the deferential standard is not insurmounta-
        ble. Although Wilson could not testify herself, we have a thorough
        understanding from the other witnesses and documentary evi-
        dence of what Wilson did—and, more importantly, did not do—as
        far as Williams’ mitigation defense during the penalty phase. Fun-
        derburg, Wilson’s co-counsel, and Tina Watson, her legal assistant
        of almost two decades, both testified at the evidentiary hearing,
        and Wilson’s case file was also produced. Here, there is abundant
        evidence that trial counsel’s performance at the penalty phase was
        untimely, deficient, and unreasonable.
                Nor were counsel’s omissions the result of strategy. Trial
        counsel had “a duty to make reasonable investigations or to make
        a reasonable decision that makes particular investigations unneces-
        sary.” Strickland, 466 U.S. at 691. Here, counsel did not conduct a
        reasonable background investigation, and the decision not to inves-
        tigate was not the result of any strategic choice. In order to make
        a strategic choice about which evidence to present and which evi-
        dence to omit, counsel needed to first investigate and discover the
        evidence and then make an informed, strategic decision. Here,
        counsel simply failed to conduct an adequate investigation in the
        first place.
               In sum, the district court made thorough factual findings af-
        ter the evidentiary hearing, which help us assess the merit of Wil-
        liams’ failure-to-investigate claims—and the State has not
USCA11 Case: 21-13734      Document: 39-1      Date Filed: 07/11/2023      Page: 20 of 32




        20                      Opinion of the Court                  21-13734

        specifically identified any of those factual findings as clearly errone-
        ous. Considering the district court’s factual findings and the total-
        ity of the evidence in the record, on de novo review we find that
        “in light of all the circumstances,” trial counsel’s failure to investi-
        gate Williams’ background for mitigating evidence was “outside
        the wide range of professionally competent assistance.” Id. at 690.
                                      B. Prejudice
                In addition to deficient performance, a petitioner must also
        establish prejudice to succeed on an ineffective-assistance-of-coun-
        sel claim. Id. at 687. To establish prejudice, a defendant must show
        “that counsel’s errors were so serious as to deprive the defendant
        of a fair trial, a trial whose result is reliable.” Id. When a defendant
        challenges a death sentence, the test for prejudice “is whether there
        is a reasonable probability that, absent [counsel’s] errors, the sen-
        tencer—including an appellate court, to the extent it independently
        reweighs the evidence—would have concluded that the balance of
        aggravating and mitigating circumstances did not warrant death.”
        Id. at 695. “A reasonable probability is a probability sufficient to
        undermine confidence in the outcome.” Id. at 694.
              After carefully reweighing the evidence, we find there is a
        reasonable probability that, absent counsel’s deficiencies, the bal-
        ance of aggravating and mitigating factors in Williams’ case did not
        warrant a sentence of death.
              At the penalty phase of Williams’ trial, the jury only heard
        testimony from Eloise and Charlene. However, their testimony
        revealed very little about the true extent of Williams’ troubled
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023     Page: 21 of 32




        21-13734               Opinion of the Court                        21

        upbringing and family history. The jury never heard about Wil-
        liams’ sexual abuse, his early exposure to sexual relations, his expo-
        sure to domestic violence, the abandonment by both his father and
        mother, or the sexual abuse and alcoholism that was pervasive in
        his family. The Supreme Court has found that counsel’s failure to
        present evidence of abuse in mitigation constitutes prejudice. See,
        e.g., Wiggins, 539 U.S. at 534–35 (finding prejudice where counsel
        failed to discover and present mitigating evidence of the defend-
        ant’s physical and sexual abuse during childhood); Rompilla v. Beard,
        545 U.S. 374, 391–93 (2005) (finding petitioner was prejudiced by
        counsel’s failure to present evidence of parents’ alcoholism, domes-
        tic violence, physical and verbal abuse, and dire living conditions).
        In Williams’ case, “the nature, quality, and volume of the mitiga-
        tion never known to the jury is significant enough to conclude that
        it ‘bears no relation’ to the cursory evidence that trial counsel pre-
        sented.” Daniel v. Comm’r, Ala. Dep’t of Corr., 822 F.3d 1248, 1276
        (11th Cir. 2016) (quoting Rompilla, 545 U.S. at 393). Had the jury
        been presented with all of the mitigating evidence, there is a rea-
        sonable probability that the outcome of Williams’ trial could have
        been different. Strickland, 466 U.S. at 695.
                The State argues that the district court incorrectly re-
        weighed the additional aggravating and mitigating evidence pro-
        duced at the evidentiary hearing by giving significance to the num-
        ber of aggravators and mitigators rather than their nature. This
        argument is meritless and, in all events, on de novo review, this
        Court has independently reweighed all the available evidence. See
        Strickland, 466 U.S. at 695. We have reviewed the record and the
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023     Page: 22 of 32




        22                     Opinion of the Court                 21-13734

        evidence produced at the evidentiary hearing, and we find that not
        only the sheer volume of but also the powerful nature of the miti-
        gators overwhelmingly outweighs the aggravator in Williams’
        case. We do not minimize the weight or significance of the aggra-
        vating circumstance—that the murder was committed during a
        rape—but, when balancing it against all of the mitigating circum-
        stances that we now know, our confidence in the outcome of the
        penalty phase of Williams’ trial is undermined. Id. at 694.
                The State also asserts that the district court erroneously
        found Williams was prejudiced by counsel’s failure to present evi-
        dence of childhood sexual abuse by Mostella because Williams
        never described the experience as traumatic, and the mitigation
        value of the evidence is weakened by the passage of time between
        the abuse and Williams’ crime. We disagree. Dr. Mendel testified
        at the evidentiary hearing that he strongly believed that “if the sex-
        ual abuse hadn’t happened, there would not have been the sexual
        violence.” The abuse clearly had a damaging impact on Williams
        because he felt shameful and had thoughts of hurting or killing
        himself. The abuse also contributed to the early age at which Wil-
        liams became sexually active, and the hypersexuality he developed
        as an adolescent and a young man. The district court credited both
        Williams’ and Dr. Mendel’s testimony regarding the sexual abuse
        by Mostella, and the State has not adequately challenged this cred-
        ibility finding. Thus, we reject the State’s argument that Williams
        was not prejudiced by the failure to present evidence regarding
        Williams’ sexual abuse by Mostella. See Williams II, 791 F.3d at
        1277 (noting that sexual molestation and repeated rape “during
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023    Page: 23 of 32




        21-13734               Opinion of the Court                       23

        childhood can be powerful mitigating evidence, and is precisely the
        type of evidence that is ‘relevant to assessing a defendant’s moral
        culpability’”).
                The dissent disagrees that Williams has established preju-
        dice and places much emphasis on the facts of the underlying mur-
        der. Dissenting Op. at 2–3. While we do not minimize the brutal-
        ity of Williams’ crime, those facts must be weighed against all the
        mitigating evidence. Here, the district court conducted an eviden-
        tiary hearing on the failure-to-investigate claims, made extensive
        factual findings based on evidence that had not been presented dur-
        ing Williams’ penalty phase, and concluded that Williams was en-
        titled to habeas relief. On appeal, we must review the district
        court’s factual findings for clear error and its legal conclusions de
        novo. The clear error standard is highly deferential. Holton, 425
        F.3d at 1350. The dissent has not suggested that any of the district
        court’s factual findings were clearly erroneous. We find no clear
        error in the court’s factual findings. Considering the record before
        us—and given the highly deferential standard of review for factual
        findings—we conclude that Williams has established Strickland
        prejudice.
               Thus, Williams “has met the burden of showing that the de-
        cision reached [at the penalty phase] would reasonably likely have
        been different absent the errors.” Strickland, 466 U.S. at 696.
                               IV. CONCLUSION
               Williams has established both that his trial counsel rendered
        deficient performance during the penalty phase of his trial, and that
USCA11 Case: 21-13734     Document: 39-1     Date Filed: 07/11/2023   Page: 24 of 32




        24                    Opinion of the Court                21-13734

        their deficient performance prejudiced him. As a result, Williams’
        trial was fundamentally unfair. Accordingly, we affirm the district
        court’s grant of habeas corpus relief.
              AFFIRMED.
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023    Page: 25 of 32




        21-13734               GRANT, J., dissenting                       1

        GRANT, Circuit Judge, dissenting:
                Trial counsel’s efforts to investigate Williams’s background
        and prepare for the sentencing phase were unacceptable. Despite
        being fully aware that the strength of the evidence of their client’s
        guilt meant a thorough mitigation investigation was imperative,
        the two attorneys billed a combined total of less than 15 hours for
        sentencing-phase preparation. But even though I join the majority
        in concluding that counsel’s performance was deficient, I do not
        agree that Williams can meet his burden of showing a reasonable
        probability that, if not for counsel’s substandard performance, the
        sentencing authority “would have concluded that the balance of
        aggravating and mitigating circumstances did not warrant death.”
        Strickland v. Washington, 466 U.S. 668, 695 (1984). I therefore
        respectfully dissent.
               The only way to conclude that Williams met that burden is
        to dismiss the statutory aggravator—that the murder was
        committed during a burglary and rape, Alabama Code § 13A-5-
        49(4)—without adequate consideration. We have previously
        explained that when a murder is “carefully planned, or
        accompanied by torture, rape or kidnapping,” the aggravating
        circumstances of the crime itself may “outweigh any prejudice
        caused when a lawyer fails to present mitigating evidence.”
        Callahan v. Campbell, 427 F.3d 897, 938 (11th Cir. 2005) (quoting
        Dobbs v. Turpin, 142 F.3d 1383, 1390 (11th Cir. 1998)). This is
        especially true where the murder is a brutal one—“or, even, a less
USCA11 Case: 21-13734     Document: 39-1     Date Filed: 07/11/2023    Page: 26 of 32




        2                      GRANT, J., dissenting              21-13734

        brutal murder for which there is strong evidence of guilt in fact.”
        Clisby v. Alabama, 26 F.3d 1054, 1057 (11th Cir. 1994).
               Here, the murder of Rowell was brutal. And it was proven
        by overwhelming evidence of Williams’s guilt, including blood and
        semen evidence and several statements by Williams describing his
        crimes. See Williams v. Alabama, 791 F.3d 1267, 1269 (11th Cir.
        2015).
               The circumstances of the burglary, rape, and murder that
        Williams committed bear repeating. Melanie Rowell, a young
        mother with two small children, was fast asleep when Williams
        invaded her home in the middle of the night, intent on raping her.
        He took a knife from her kitchen and went quietly up the stairs,
        taking his pants off along the way. At the top of the stairs, he
        climbed over a baby gate and stopped to “peek[] in” at the children,
        who were asleep in the bedroom across the hall from Rowell’s.
        Rowell awoke with Williams on top of her, holding a knife to her
        throat and pulling off her shorts. She screamed and struggled and
        bit his hand, but he held her down and strangled her until she
        stopped moving, and then raped her—apparently not caring
        whether she was alive or dead at that point. Afterward, Williams
        left Rowell’s brutalized and half-naked body on the floor, where it
        was discovered first by Rowell’s 15-month-old daughter and then
        by her mother. Any evaluation of the aggravating circumstance
        must acknowledge the shock and terror of the home invasion, the
        added fear the victim must have felt for her children, the cold
        brutality shown by Williams in strangling a neighbor to death so
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023    Page: 27 of 32




        21-13734               GRANT, J., dissenting                       3

        that he could rape her, and the cruel aftermath of the murder for
        Rowell’s family, especially her young children. See Miller v. State,
        913 So. 2d 1148, 1164 (Ala. Crim. App. 2004) (explaining that victim
        impact evidence is admissible during the penalty phase and
        relevant to whether the death penalty should be imposed).
                Here, the majority concludes that the “sheer volume” and
        “powerful nature” of the mitigating evidence “overwhelmingly
        outweighs the aggravator in Williams’ case.” Maj. op. at 22. I
        cannot agree. To start, the volume of mitigating evidence has little
        bearing on its weight, especially when much of the evidence is
        cumulative of the testimony given at trial. See Wong v. Belmontes,
        558 U.S. 15, 22–23 (2009) (finding no prejudice where some of the
        new evidence was cumulative of evidence presented at trial and
        thus of little use); Holsey v. Warden, Georgia Diagnostic Prison, 694
        F.3d 1230, 1270–71 (11th Cir. 2012) (same). Williams’s mother and
        aunt testified during the original penalty phase about Williams’s
        difficult childhood, including his abandonment by his father, his
        lack of a stable home, and his sadness and sense of abandonment
        when his mother left him to be cared for by relatives. Their
        testimony about Williams was much the same during the federal
        habeas proceedings. That this narrative was already presented
        makes it no less tragic. But it does minimize the potential effect of
        the new evidence Williams offers.
             Williams’s new evidence of childhood abuse also fails to
        match the standard set by the Supreme Court in Wiggins v. Smith
USCA11 Case: 21-13734        Document: 39-1         Date Filed: 07/11/2023        Page: 28 of 32




        4                          GRANT, J., dissenting                     21-13734

        and Rompilla v. Beard. 1 His testimony that he was sexually abused
        by an older boy on three or four occasions over a two-year period,
        though horrifying, bears little resemblance to the “severe privation
        and abuse,” “physical torment, sexual molestation, and repeated
        rape” demonstrated in Wiggins, or the long history of severe
        neglect and physical and emotional abuse described in Rompilla.
        See Wiggins v. Smith, 539 U.S. 510, 516–17, 535 (2003); Rompilla v.
        Beard, 545 U.S. 374, 390–93 (2005). Indeed, the State’s expert
        testified that Williams did not experience trauma from the
        encounters, and Williams’s own expert testified that the lack of
        stability in Williams’s home life had a more negative and
        traumatizing impact on Williams than the sexual abuse.
               Other new evidence has even less mitigating value.
        Testimony that members of Williams’s extended family also
        suffered childhood sexual abuse has little relevance—and thus
        should be accorded little weight—given the lack of evidence that
        Williams witnessed or even knew about the abuse. Evidence of
        widespread alcoholism among the adults in Williams’s life would
        have served only to partially explain Williams’s own alcoholism;

        1 The majority accepts as a given that Williams would have disclosed the abuse

        to trial counsel if they had asked, but I am not convinced. Williams never told
        anyone about the abuse until decades after it occurred and after he had already
        been sentenced to death. He denied childhood abuse during his pretrial
        psychological evaluation and when he was first asked about it by his
        postconviction counsel. Williams’s psychological expert opined that Williams
        would also have initially denied sexual abuse if his trial counsel had asked him
        about it and would only say that it was “possible” that the abuse “could have
        come out” with “time and development of trust.”
USCA11 Case: 21-13734     Document: 39-1     Date Filed: 07/11/2023    Page: 29 of 32




        21-13734               GRANT, J., dissenting                      5

        the witnesses gave no indication that his family members were
        violent or abusive when drunk. And more detailed evidence of
        Williams’s own drug and alcohol use likely would not have helped
        him at all. Such evidence “often has little mitigating value and can
        do as much or more harm than good in the eyes of the jury.”
        Crawford v. Head, 311 F.3d 1288, 1321 (11th Cir. 2002); see, e.g.,
        Grayson v. Thompson, 257 F.3d 1194, 1227 (11th Cir. 2001).
               One more thing to consider is that Williams’s evidence
        related to childhood sexual abuse is not entirely mitigating, and
        would also invite unfavorable evidence in rebuttal. We “must
        consider all the evidence—the good and the bad—when evaluating
        prejudice.” Belmontes, 558 U.S. at 26. In explaining the link
        between the childhood sexual abuse and Williams’s capital crime,
        Williams’s expert testified that he compensated for feelings of
        shame and self-doubt by becoming hypersexual and
        hyperaggressive. He became sexually promiscuous without
        developing any stable romantic relationships. He was suspended
        from school twice and kicked out of Job Corps for fighting, and he
        was arrested for assault during his teens. Further, the new
        evidence shows that although Williams was open about his
        hypersexuality, he refused to acknowledge his “anger and the
        tendencies toward violence” arising from the abuse.
              This testimony would have had the potential to harm
        Williams in the eyes of the jury. It would have also invited
        argument by the State that Williams’s tendencies toward violence
        and aggression would make him a danger to other inmates if he
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023     Page: 30 of 32




        6                       GRANT, J., dissenting               21-13734

        were released into the general population to serve a life sentence.
        See Simmons v. South Carolina, 512 U.S. 154, 165 n.5 (1994) (plurality
        opinion) (“the fact that a defendant is parole ineligible does not
        prevent the State from arguing that the defendant poses a future
        danger”); see also id. at 177 (O’Connor, J., concurring in judgment)
        (when the defendant raises his parole ineligibility, “the prosecution
        is free to argue that the defendant would be dangerous in prison”).
                To prove this propensity, the State undoubtedly would have
        introduced evidence that before his arrest, Williams committed a
        second burglary and sexual assault on another neighbor—this time
        a woman he had known since childhood. The evidence would
        have shown that only a few weeks after murdering Rowell,
        Williams again invaded a neighbor’s home in the middle of the
        night with the intention of raping her. The record reflects graphic
        evidence of yet another violent attack in which Williams took off
        his pants, climbed through a window, and attacked the woman in
        her bed, holding her down while he rubbed his penis on her and
        “put his hand up in her vagina” as she struggled and begged for her
        life.     When Williams discovered that the woman was
        menstruating, he ordered her to perform oral sex on him. She
        continued to struggle with Williams until daybreak, when he
        finally left.
              This evidence is relevant in several ways. To start, it is
        admissible in Alabama to show future dangerousness, which is “a
        subject of inestimable concern at the penalty phase.” Floyd v. State,
        289 So. 3d 337, 431 (Ala. Crim. App. 2017) (citation omitted). And
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023     Page: 31 of 32




        21-13734                GRANT, J., dissenting                       7

        while future dangerousness is not an aggravating circumstance in
        itself, it is relevant to determining the weight that should be
        afforded to the aggravating circumstance proven by the State. See
        id.
               The evidence of Williams’s second burglary and attempted
        rape would have also reduced or eliminated the mitigating value of
        his lack of significant prior criminal history. Just as significantly,
        the later crime would have demonstrated Williams’s lack of regret
        in the weeks following Rowell’s murder, undermining his (already
        unconvincing) claim for the mitigating circumstance of remorse.
               In addition to the previously unexplored evidence depicting
        Williams as an unrepentant murderer and serial home invader, the
        State likely would have responded to Williams’s claims of
        childhood suffering by further developing evidence of the lasting
        trauma Williams inflicted on Rowell’s children by killing their
        mother. At the initial sentencing hearing, the State introduced only
        one witness to testify about the children’s anger, fear, grief, and
        confusion; the evidence Williams now proffers would have opened
        the door to much more. See, e.g., Woodward v. State, 123 So. 3d 989,
        1041–43 (Ala. Crim. App. 2011), as modified on denial of reh’g (Aug.
        24, 2012).
                Given all of these facts, I do not agree that it is reasonably
        likely that the assistance of competent counsel at trial would have
        resulted in a different sentence. Strickland, 466 U.S. at 696. To be
        sure, I do not excuse the failure of the defense team to properly
        investigate and present a mitigation case. But viewed in its entirety
USCA11 Case: 21-13734     Document: 39-1      Date Filed: 07/11/2023    Page: 32 of 32




        8                      GRANT, J., dissenting               21-13734

        and weighed properly, the evidence developed in habeas creates
        only the slightest possibility of a different outcome. This
        conclusion does not in any way conflict with the factual findings
        made by the district court. Contra Maj. op. at 23. And the district
        court’s final determination on the prejudice prong is a mixed
        question of law and fact that we review de novo. Strickland, 466
        U.S. at 698; Jefferson v. GDCP Warden, 941 F.3d 452, 473 (11th Cir.
        2019). To show prejudice under Strickland, the “likelihood of a
        different result must be substantial, not just conceivable.”
        Harrington v. Richter, 562 U.S. 86, 111–12 (2011). Because Williams
        has not met that standard, I would reverse the district court’s grant
        of federal habeas relief and reinstate Williams’s death sentence.
